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                                                                              SU.S. DIST            (   JUT
                                                                                    SEP      Z'61
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                         X1        S.D. OF N.Y.

NML, CAPITAL, LTD.,
                                                                                09 Civ. 1707 (TPG)
                                        Plaintiff,

                                 -   against                                    NOTICE OF APPEAL

THE REPUBLIC OF ARGENTINA,
                                        Defendant.

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                   Notice is hereby given that the Republic of Argentina (the "Republic"), defendant in

the above named case, hereby appeals to the United States Court of Appeals for the Second Circuit

from the Opinion and Order entered in this action on September 2, 2011 granting plaintiff's Motions

to Compel Bank of America and Banco de la Naci6n Argentina to comply with its subpoenas and

overruling the Republic's motion to quash and objections to the subpoenas.

Dated: New York, New York
       September 30, 2011
                                                 CLEARY GOTTLIEB STEEN & HAMILTON LLP



                                                           Jonath i                I
                                                                         ackm 66ackman@cgsh.com)
                                                           Carmine D. Boc     1,(cboccuzzi~cgsh.com)
                                                           Christopher P. Moore (cmoore~cgsh.com)

                                                 One Liberty Plaza
                                                 New York, New York 10006
                                                 (212) 225-2000

                                                 Attorneys for the Republic of Argentina
